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                                         NEW YORK CITY
                                      BOARD OF CORRECTION

                            May 11, 2021 PUBLIC MEETING 1 MINUTES


                                              ATTENDEES

MEMBERS PRESENT
Jennifer Jones Austin, Esq., Chair
Stanley Richards, Vice-Chair
Marco Carrion, Member
Robert L. Cohen, M.D., Member
Felipe Franco, Member
James Perrino, Member
Steven M. Safyer, M.D., Member
Jacqueline Sherman, Esq., Member

Margaret Egan, Executive Director

DEPARTMENT OF CORRECTION
Hazel Jennings, Chief of Department
Brenda Cooke, Chief of Staff
Dana Wax, Deputy Chief of Staff
Heidi Grossman, Deputy Commissioner for Legal Matters/General Counsel
Lisa Richardson, Deputy General Counsel
Patricia Feeney, Deputy Commissioner for Quality Assurance and Integrity
Nadene Pinnock, Deputy Commissioner
Stephane Plantin, Attorney
Steven Kaiser, Executive Director of Policy and Intergovernmental Affairs
Brian Charkowick, Executive Director of Infrastructure & Operations
Kenneth Stukes, Bureau Chief of Security
James Boyd, Assistant Commissioner of Internal Communications
Nancy Li, Policy, Policy and Oversight Specialist
Julia Szendro, Policy Analyst
Sedra Green, Executive Coordinator

NYC HEALTH + HOSPITALS - CORRECTIONAL HEALTH SERVICES
Patsy Yang, DrPH, Senior Vice President
Ross MacDonald, MD, Chief Medical Officer, Sr. Assistant Vice President
Monica Katyal, Esq., MPH, Senior Director of Monitoring and Evaluation
Jeanette Merrill, MPH, Director, Communications and Intergovernmental Affairs

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    Due to the coronavirus/COVID-19 pandemic, this special meeting was conducted virtually.

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Ashley Smith, MPA, Chief of Staff

OTHERS IN ATTENDANCE
Jessica González-Rojas, NY State Assembly
Joseph Thomas, NY City Hall
America Canas, NY City Hall
Rachel Baker, NY City Hall
Brian Romero, NY State Assembly
Jessica González-Rojas, NY State Assembly
Amanda Masters, NYC Law Department
Stephen Louis, NYC Law Department
Victoria Phillips, UJC/Jails Action Coalition (JAC)
Daniele Gerard, Children’s Rights
Tobin Kassa, Children’s Rights
Kayla Simpson, Legal Aid Society Prisoners’ Rights Project (LAS)
Alexandra Smith, LAS
Andre Ward, The Fortune Society
Jennifer Parish, Urban Justice Center (UJC)
Kelsey De Avila, Brooklyn Defender Services (BDS)
Simone Spirig, BDS
Irene Cedano, BDS
Claudia Forrester, BDS
Harmony Seaburg, BDS
Ashaki Antoine, Correction Officers’ Benevolent Association (COBA)
Julia Solomons, Bronx Defenders
Tahanee Dunn, Bronx Defenders
Charlotte Pope, Girls for Gender Equity
Darlene McDay, HALT Solitary Campaign
Scott Paltrowitz, HALT Solitary Campaign
Darren Mack, Freedom Agenda
Sarita Daftary, Freedom Agenda
Victor, Freedom Agenda
Frances Geteles-Shapiro, New York Campaign for Alternatives to Isolated Confinement (CAIC)
Annette Spellen, Manhattan Community Board
Melanie Dominguez, Katal Center
Jan Ransom, NY Times
Chelsia Marcius, NY Daily News
Anna Friedberg, Tillidgroup
Shakeena Mcintosh, Independent
May McConnell, Independent



Approval of March 9 and March 17, 2021 Minutes
Board Chair Jennifer Jones Austin (“Chair Jones Austin”) asked for a motion to approve the draft
minutes of the Board’s March 9, 2021 meeting and March 17, 2021 special meeting. Upon Dr.
Cohen moving the item and Member Franco seconding it, the minutes were unanimously
approved, 7-0 (Chair Jones Austin, Vice Chair Richards and Members Carrion, Cohen, Franco,
Perrino, and Sherman). See this portion of the video recording here.



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Announcements/Updates
Chair Jones Austin discussed the announcement that DOC Commissioner Cynthia Brann is
leaving the Department. She thanked the Commissioner for her service to the jails and to the city.
She discussed the revised proposed Restrictive Housing Rule, which the Board submitted to the
Law Department yesterday for review and certification. She also discussed the recent deaths of
people in custody and DOC staff. See this portion of the video recording here.

Public Comment on Variance Request
The Board heard public comment on DOC’s Separation Status Variance Request from Ashaki
Antoine (COBA), Kayla Simpson (LAS), Daniele Gerard (Children’s Rights), and Victoria Phillips
(JAC). Public comment on the variance request is available here.

Separation Status Variance Request

      ►Introduction
The Board’s Executive Director Margaret Egan (“ED Egan”) provided background on DOC’s
Separation Status Variance Request. See this portion of the video recording here.

      ►DOC Presentation
DOC Bureau Chief of Security, Kenneth Stukes, presented the Separation Status Variance
Request. See this portion of the video recording here.

       ►Board Discussion
Board discussion on the variance request, including the Department’s response, is available here.

       ►Board Vote
ED Egan read out loud the existing conditions to the variance. See this portion of the video
recording here.

Chair Jones Austin proposed voting on a four-month variance instead of the six months requested
by the Department. After the item was moved and seconded, the Board unanimously approved
the proposal to vote on a four-month variance, 8-0 (Chair Jones Austin, Vice Chair Richards and
Members Carrion, Cohen, Franco, Perrino, Safyer, and Sherman).

Chair Jones Austin called for a motion to vote on the four-month variance with existing conditions.
After the item was moved and seconded, the Board unanimously approved the variance, 8-0
(Chair Jones Austin, Vice Chair Richards and Members Carrion, Cohen, Franco, Perrino, Safyer,
and Sherman).

See the Board’s vote on the variance and the conditions here. The final record of variance is
published here.

Update on Jail Staffing
DOC provided an update in response to the Board’s concerns about staffing in the jails. See this
portion of the video recording here.

COVID-19 Update
ED Egan provided background on COVID-19 in the jails, available here.




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DOC Deputy Commissioner for Quality Assurance and Integrity, Patricia Feeney, and CHS Senior
Vice President, Patsy Yang, provided an update on COVID-19 in the jails. See this portion of the
video recording here.

New Borough Based Jails Update
ED Egan provided background on the new borough-based jails plan. The Department provided
an update on the borough-based jails plan and responded to the Board’s questions. See this
portion of the video recording here.

Confidential Phone Call Recording Update
ED Egan discussed the recent recording of people in custody’s confidential phone calls. DOC’s
Deputy General Counsel, Lisa Richardson, provided an update on this issue. See this portion of
the video recording here.

Public Comment
The Board heard public comment from Ashaki Antoine (COBA), Kayla Simpson (LAS), Darren
Mack (Freedom Agenda), Frances Geteles-Shapiro (CAIC), Victoria Phillips (JAC), Sarita Daftary-
Steel (Freedom Agenda), Jessica González-Rojas (NY State Assembly), and Scott Paltrowitz
(HALT Solitary Campaign).

The public comments portion of this video recording is available here.




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